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           EXHIBIT 4 –
      Leo v. Lowe, Petition for
              Replevin
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                                  IN THE DISTRICT COURT
                            GARVIN COUNTY, STATE OF OKLAHOMA



                CARRIE M. LEO,
                   Plaintiff,
                         -v-                                              Case No. CJ 19-89
         JEFFREY L. LOWE and
    LAUREN F. LOWE, d/b/a/ The Greater
       Wynnewood Exotic Animal Park
               Defendants.

                                        PETITION FOR REPLEVIN
                                               TO SUPPLEMENT
AFFIDAVIT IN SUPPORT OF EMERGENCY TRO AND PRELIMINARY INJUNCTION
                          sworn on July 6, 2020

           COMES NOW the Plaintiff, Carrie M. Leo ("Plaintiff'), and respectively submits this

action for replevin against the Defendants, Jeffrey, and Lauren Lowe, to this Honorable Court.

Plaintiff alleges and states:

     1.       The Plaintiff is an individual, domiciled in the state of New York;

     2.       The Defendants are individuals, domiciled in the State of Oklahoma;

     3.       The Plaintiff arranged a boarding contract with the agent of the zoo at the time, Joe

              Schreibvogel, on February 9, 2017 1 for eight of the Plaintiffs animals (referred to as

              "The Animals" or "Animals" hereon in): 1 black-backed jackal (Canis mesomelas), 2

              Virginia Opossums (Didelphis virginiana), 2 fishers (Pekania pennant), 1 African

              Crested Porcupine (Hystrix cristata), I Artie fox (Vulpes Lagopus) and 1 red-type fox

              (Vulpes vulpes). 2



1
  Please refer to the affidavit accompanying the Original Petition and other initiating papers sworn by Joseph
  Maldonado-Passage on May 10, 2019 with Exhibit A.
2
  Please refer to Exhibit 5 included in the Plaintiffs Motion for TRO & Prelimina,y Injunction, sworn on July 6,
  2020 to see how the Plaintiff's animals are listed in the live inventory page(s) from the latest USDA inspection of
  the Defendant's USDA license. The last inspection of the Greater Wynnewood Exotic Animal Park occurred on
  ~une5:  2020. The Lowes have been charged with the lack of records regarding the disposition of many animals,
  mcludmg one fisher cat; hopefully not one of the ones belonging to the Plaintiff.

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       4.       At all times, the animals remained the sole property of the Plaintiff as she was and still

                is the one and only owner of The Animals. 3

       5.       The Plaintiff has demanded the return of The Animals, and the Defendant has refused

                to return the same, under no legal authority, and continues to exhibit these animals to

                the public for receipt of a fee;

       6.       The Plaintiff is entitled to a writ of replevin of such property.

       7.       Any claims by the Defendant to ownership, title or interest in the said property do not

                override the rights of the Plaintiff to repossess, maintain title or interest in said property

                consisting of The Animals. 4

       8.       This is an action by the Plaintiff for immediate relief arising from the apparent unlawful

                conversion of title over her personal property by the Defendants.                          Further, on

                information and belief, the Defendants are having continued challenges in caring for the

                animals currently residing in their zoological facility located in Wynnewood, Oklahoma,

                Garvin County.

       9.       Plaintiff has recently been made aware of two disturbing incidences or situations

                involving the Defendants which prompt her to reinstate the urgency in regaining

                possession of her animals.

       10.      During the first week of July 2020, the Plaintiff has been made aware that another

                litigant who has also filed an action of unlawful conversion of personal property

                involving animals at the Greater Wynnewood Exotic Animal Park stated several of his

                animals are now deceased due to substandard care by the Defendants and their staff. 5


3
    Evidence of ownership is available in Exhibits JO through 15 of the Original Petition filed to commence this action. The
    Plaintiff also included an affidavit of authenticity of all ownership papers. The affidavit was served to the Court and
    the Defendant, by way of his attorney, along with the papers for the Plaintiff's Motion for TRO & Preliminary Injunction
    sworn on July 6, 2020.                                                                                                  '
4
    Pl~ase ~efer to the Affidavi_t sworn by Plaintiff on April I,, 2019 entitled Alndavit in Support of Immediate
    l17Junct1on and accompanying the Original Petition and initiating papers.
5
    Stark v Lowe.

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      11.      Additionally, the morning of Tuesday, June 28, 2020, the Plaintiff became aware of the

               current trouble with animal care at the zoo in which veterinary care has been lacking

               incurring flystrike in numerous animals. This was a complaint submitted to the USDA

               by a whistleblower and PETA about which the USDA, Oklahoma Wildlife Conservation

               Department and Sheriffs Department have taken immediate action in ensuring the care

               of animals at the zoo as best as they can. 6

      12.      Plaintiffs concerns prompted her to email and then call the Garvin County Sheriff with

               whom she spoke on the phone later in the morning. Sheriff Mullet told the Plaintiff she

               has not more than ninety days to remove The Animals from the zoo. However, based

               on their deteriorating health, she may not even have that long.

      13.      Then, at 9:58 PM on Monday, June 28, 2020, the Plaintiff was sent a picture by a person

               who had been at the zoo. The picture showed one of the Plaintiffs fisher cats in a

               distressed state. 7




                     Figure I ''Houdini" the red-type fox
                           (muted standard morph)

                                                                                    Figure 2: Jack" the fisher cat

6
    Found in the PlaintiH's Motion for TRO & Preliminary Injunction, sworn on July 6, 2020 is Exhibit #3 which contains
    the email and posting on social media which alerted the Petitioner/Plaintiff of the urgency of the situation
    relating to her animals.
7
    Found in the P~ain~iH's Motion for TRO & Preliminary Injunction, sworn on July 6,   2020   is Exhibit #38 _ a picture of
    one of the Plamt1ff's fisher cats taken on Friday, June 25, 2020.


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       14.       The following day, Tuesday, June 29, 2020, the Plaintiff came across an article on a

                 blog online in which one of her two foxes currently at the zoo was pictured "looking

                 tired and drained" .8

       15.      The Plaintiff will not have an adequate remedy at law if the Defendant is free to engage

                in such conduct with regard to said property. The Defendant should be prohibited from

                the concealing, selling, displaying, disposing of, transferring, hypothecating, damaging,

                destroying, or otherwise dealing with said property in any manner that would produce

                injury to the Plaintiff pursuant to Title 12 O.S. Section 1571(C);

       16.      Prejudicial actions by the Defendant include, but not necessarily limited to, concealing,

                displaying, selling, disposing of, hypothecating, damaging, destroying, or otherwise

                encumbering The Animals throughout the duration of this action.

       17.      The Plaintiff is further entitled to judgment for damages arising from the Defendant's

                 unlawful detention of said property, including, but not limited to, loss of income;

       18.      The Plaintiff is entitled to judgment for any damages to the property caused by the

                Defendant;

       19.      In the alternative, and pursuant to title 12 O.S. Section 1580, the Plaintiff is entitled to

                judgment for the full value of said property in the event the Plaintiff is not restored to

                possession of the same;

             WHEREFORE, Plaintiff respectfully requests a decision by the Court in favor of the

Plaintiff and against the Defendants, their agents, servants, employees, and successors as follows:

             A writ for Replevin for immediate possession of The Animals to be given to the Plaintiff.

The seizure of the animals by law enforcement, if necessary, to be authorized by the Court is also

requested to be included in the writ.


8
     Found in the Plaintiffs Motion for TRO & Preliminary Injunction sworn on July 6 2020 · E h"b"          ·       f
    "Houdinl', the Petitioner's red fox.                            ,               ,     is x i it #4 - a picture o

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        Maintenance of the temporary restraining order prohibiting the Defendant from selling,

damaging, displaying, or otherwise disposing The Animals owned by the Plaintiff until she is able

to pick them up and get them back to her facility in New York State.

        Judgment for all damages and costs incurred herein pursuant to title 12 O.S. Section 1580.

                                                                Respectfully submitted,



                                                               <2::.~
                                                                3199 Walworth Road
                                                                Walworth, NY 14568
                                                                Ph (315) 538-8316
                                                                Email: carrieleol5@gmail.com



STATE OF OKLAHOMA                   )
                                    ) ss.
COUNTY OF GARVlN                    )


CERTIFICATE OF AUTHENTICJTY

         Carrie M. Leo, of lawful age, being first duly sworn upon oath deposes and states that she is the
Plaintiff in the above named case, that she has authored, read and understands the foregoing Answer, and
knows the contents thereof, and that the facts therein set forth are true and correct to the best of her
knowledge and belief.


CERTIFICATE OF DELJVERY

        The Plaintiff, Carrie M. Leo, also certifies on this 21 st day of September 2020, that she delivered a
true and correct copy of the above and foregoing document to Robert T. Rennie, Attorney for the
Defendant, by emailing it to his email address at rennielaw@yahoo.com and mailing a physical copy via
USPS to his office address at 118 North Chickasaw, Pauls Valley, Oklahoma 73075.
Date: September 21, 2020


                                                                     Carrie M. Leo, Plaintiff




                   Subscribed and sworn to before me this 21st day of Se tember 2020.


                           LAUREN FRIEDL
                   Notary Public . State of New York
                          NO. 07FR6383306
                      Q~alified in Wayne County
                  My Commission Expires Nov 13. 2022
                                                                         Notary Public


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                                                            ~~
                          Western Surety Company
                              IN THE DISTRICT COURT OF Garvin County                                     COUNTY
                                                STATE OF OKLAHOMA
                                                                                                  Case No. _ _ _ _ _ _ _ _ _ __

     Carrie M. Leo
                                                           }
                                    Plaintiff(s),
                                                                               PLAINTIFF'S REPLEVIN BOND
     V.


     The Greater Wynnewood Exotic
     Animal Park
                          Defendant(s).
                                                          1
                                                          }
                                                                                     (Okla. Stat. Ann. tit. 12, § 1573)


                                                                                                 Bond No. 65213528

                                                                               Effective Date: __S-'---e_p"'--t_e-"-mb--'--e_r_l_0--'-t_h.,,.,_2-'0_2_0_ _

     KNOW ALL PERSONS BY THESE PRESENTS:

         That we, Carrie Leo                                                                                       ,
     as Principal(s), and WESTERN SURETY COMPANY, a corporation authorired to do surety business in the State of
     Oklahoma, as Surety, are held and firmly bound unto the above-named Defendant(s), in the sum of not to exceed

      Twenty Thousand and 00/100                                                     DOLLARS($ 20,000.00                ),
     for the payment of which well and truly to be made, we bind ourselves and our legal representatives, firmly by these
     presents.

          THE CONDITION of the above obligation is such that WHEREAS the Principal(s) has commenced an action for the
     recovery of the possession of certain personal property claimed by the Principal(s) and gives this bond as part of such
     action as required by Okla. Stat. Ann. tit. 12, § 1573.

          NOW, THEREFORE, if the Principal(s) shall duly prosecute this action, pay all costs and damages, including
     attorney's fees, which may be awarded against the Principal(s) in this action and, if the property be delivered to the
     Principal(s), return the same to the Defendant(s) if such return be adjudged, then this obligation to be void; otherwise to
     remain in full force and effect. In no event shall the total liability of the Surety for all breaches of the condition of this
     bond exceed the amount stated above.
                       cl (S+ <1L
          Dated this      ~          dayof ___S~e~p_t~emb~-'e_r_ _


                                                                                                                                           , Principal
                                                                              By _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


                                                                              - - - - - - - - - - - - - - - - , Principal
                                                                              By _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




     Approved

     By _ _ _ _ _ _ _ _ _- c : ~ c - : - = - - - - -
                                      Clerk of the above Court
     Form F6286-12-2019
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•,
      -----------                                                                                                                - ------- -                 .:
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                                                                       INDIVIDUAL ACKNOWLEDGMENT
                     AJM Vo,IL@
   STATE OF QKLMffi'M5"

   County of -U--lVLh,1'2.....
                          a--"'14--&<--Vl..,,,t__,..---,::::.___
                                                                   }~
         Before me, a Notary Public, within and for said County and State, on this                   c;J £'c::.\--day of   Se pl-iJ,u ,6-Y; 'J-(1JD
~14,@: penmnally appeared -~(h~_cf'y-=---.,----'~'--L.-..~_Lqa----=-----------------------
   to me known to be the indentical person(s) who subscribed the within bond                    Principal, ~o,wle~ed that _he_

   executed the same for the purposes therein contained.
                                                                                                          \
   My Commission Expires
                                                                                                                       Notary P u b l i c - ~        /J
   ~JU~o~iJfJv\~~k~r~13_ _ ,Uf4                                                                                                       VwYork~
                                                                                                                         LAUREN FRIEDL
                                                                   CORPORATION ACKNOWLEDGMENT                   Notary Public - State of New York
                                                                                                                       NO. 07FR6383306
                                                                                                                   Qual_itied in Wayne County
   STATE OF OKLAHOMA                                               }                                          My Comm 15 s,an ExDires Nov 13, 2022

   County o f _ _ _ _ _ _ _ _ _                                        ss

         Before me, a Notary Public in and for said County and State, on this _ _ _ _ _ day of _ _ _ _ _ _ _ __

   _ _ _ _ , personally appeared - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

   to me known to be the indentical person who subscribed the name of the maker thereof to the foregoing instrument as
   _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ofthe _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

   and acknowledged to me that he executed the same as his free and voluntary act and deed, and as the free and

   voluntary act and deed of such corporation, for the uses and purposes therein set forth.

   My Commission Expires
                                                                                                                       Notary Public - Oklahoma



                                                                       ACKNOWLEDGMENT OF SURETY

   STATE OF SOUTH DAKOTA }
                                                           SS
   COUNTY OF MINNEHAHA

         On this            ..&k?>t              day of _ _S_e_.p~t_e_mb_e_r_ _ _2_0_2_0__ , before me, the undersigned officer, personally

   appeared                      Paul T - Bruflat                          , who acknowledged himself to be the aforesaid
   officer of WESTERN SURETY COMPANY, a corporation, and that he as such officer, being authorized so to do, executed
   the foregoing instrument for the purpose therein contained, by signing the name of the corporation by himself as such
   officer.
         IN WI~NESS WHEREOF, I have hereunto set my hand and official seal.




                                                                                                                    Notary Public, South Dakota
       My Commission Expires June 18, 20Z5
                                                                                Page 2of!i
